Case 3:20-cr-30140-NJR Document 40 Filed 02/22/22 Page 1 of 2 Page ID #78




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

                              Plaintiff,

               vs.                                   CRIMINAL NO. 20-cr-30140-NJR


DAKOTA HOLLAND,

                              Defendant.



                                  STIPULATION OF FACTS


       Steven D. Weinhoeft, United States Attorney for the Southern District of Illinois, and

John D. A. Trippi, Assistant United States Attorney for said District, herewith enter into the

following Stipulation of Facts with the defendant,

   1. On August 3, 2020, Defendant Dakota Holland was a prisoner in custody of the Special

       Housing Unit at the Federal Correctional Institution in Greenville, Illinois.

   2. On August 3, 2020, Correctional Officer M.M. was federal correctional officer employed

       by the Federal Bureau of Prisons.

   3. On August 3, 2020, while Officer M.M. was engaged in his official duties, attempting to

       place hand restraints on the Defendant, the Defendant threw a soap bottle out of his cell

       doors food slot. The Defendant did not see the soap bottle strike Officer M.M., but does

       not contest that the soap bottle struck Officer M.M. below his left eye. Medical personnel

       observed swelling under Officer M.M.'s left eye, but Officer M.M. did not require

       additional medical treatment.
Case 3:20-cr-30140-NJR Document 40 Filed 02/22/22 Page 2 of 2 Page ID #79
